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                 United States District Court
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             For The Central District of California
11
     UNITED STATES OF AMERICA          )      2:24-CR-00091-ODW (CACD)
12                                     )      2:24-MJ-00166-DJA (DIST OF NEV)
               Plaintiff,              )
13                                     )      ORDER SETTING HEARING ON
                      v.               )      GOVERNMENT MOTION FOR REVIEW
14                                            OF RELEASE ORDER
     ALEXANDER SMIRNOV            )
15                                )           (UNDER SEAL)
             Defendant.           )
16 ______________________________ )
17         It has come to this Court’s attention that counsel for defendant has
18   sought an emergency hearing in the District of Nevada to arrange the
19   release of Defendant Smirnov, likely to facilitate his absconding from the
20   United States.
21         Defendant has been indicted by a grand jury sitting in the Central
22   District of California. He was arrested on February 14, 2024 in the
23   District of Nevada upon his arrival in the United States following an
24   international flight. He was promptly brought before a magistrate judge
25   who, while agreeing that the government had established a probability
26   of Defendant fleeing the jurisdiction, but disagreeing that no conditions
27   nor combination of conditions could be fashioned to assure his
28   appearance for trial or other mandated court appearances. The
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 1   magistrate judge then issued an order for Defendant’s release, with
 2   conditions.
 3         The government then sought reconsideration or re-examination by
 4   this Court of the Nevada release order. That motion for reconsideration
 5   has been granted and this Court issued an arrest warrant specifying that
 6   upon his arrest Defendant should be brought promptly to this Court.
 7   Indeed, at 9:00 a.m. Monday, February 26, 2024 the USMS is to bring
 8   Defendant to courtroom 5-D located at the First Street Courthouse
 9   located at 350 West 1st Street, Los Angeles, CA for a detention hearing.
10         The U.S. Marshal Service is advised there is to be no deviation
11   from this Order.
12
13   DATED February 22, 2024                  ___________________________
14                                            OTIS D. WRIGHT, II DISTRICT JUDGE
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